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                Exhibit 11
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             DUE DILIGENCE SUMMARY
                          September 15, 2008




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        I. Executive Summary

        GENERAL INFORMATION
        Company Name:                            Pressure Products, Inc.
                                                 (DBA Pressure Pak)
        Company Contact:                         TobyHazelbaker, CEO
        Island Park Investments Contact:         David G. Norton




        INVESTMENT HIGHLIGHTS
                                                     $100,000          Current Cash Balance:   $2,100
        Size of Island Park's Investment:
                                                     $750,000          Current Bum:            $4,000
        Total Raise:
        Pre-Money Valuation:                —"       $2,250,000        Post-Money Valuation:   $3,000,000

        Warrants / Discount / Other:                                       Other:



        TRANSACTION OVERVIEW
           Pressure Products. Inc. anticipates raising $750,000 fpr an equity position inSeries A
           preferred stock of 25% of the total outstanding shares of stock. These funds will be used
           primarily for the fmalization of design and manufacturing elements of the current product line
           as well as the creation of new marketing and sales initiatives.

        BUSINESS SUMMARY
           Technology Development:
           Basic Research: The last four years ofbasic research have gained the company a vast
           knowledge ofthe physics and materials involved in pressurized hydration technology.
           Applied Research and Development: Pressure Pak has been through anumber of paradigm
            shifts based onactual customer feedback from one prototype tothe next, developing the
            lightest, strongest, most efficient pressurized hydration system possible.
            Product Development: Product development continues beyond the streamlining of air/gas
            pressurization into airless and "smart" pressure delivery and regulation systems.
            Market Development: Pressure Pak currently markets and sells add-on systems to
            specialized test markets as well as beta test product to Camelbak, the US military, and other
            channels of sale.

            Business Development: Pressure Products has proven intent from military and industry
            leaders tocollaborate and include Pressure Pak technology ina host ofproducts for multiple
            uses.




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      LOCATION
         Where is the company located?
            395 West 2900 North
            Pleasant Grove, UT 84062



     II. Management:
     APPLICABLE EXPERIENCE
        Does themanagement team have applicable industry experience?
           The CEO has been with the company since inception and is responsible for major
            industry and military partnerships. The COO has startup experience many times over,
            was a co-founder ofUS Synthetic (industrial diamonds, Provo, UT), and justretired as
            Director ofGlobal Manufacturing Support from BD, a major medical device
            manufacturer. The CTO is currently achieving his doctorate from the University ofUtah
            inplastics and materials science and has over 15 years ofexperience in medical device
            andconsumer product manufacturing and design.

     SHARED VALUES
        Docs the management team share our values?
           Personal: The Pressure Products team are family-oriented people who embody values of
               honesty, hard work, ingenuity and integrity.
           Business: The business started out in their basements and garages. They believe inthe
              American spirit ofthose like Hewlett-Packard and Thomas Edison, that any hurdle
               can beovercome, andthat quality, value, and astounding customer service are as
               important as the best marketing campaign. They seek synergistic relationships at
               eveiy turn and do not let ego dictate what is best for the business.




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        III. Business:

        SUMMARY OF FINANCIALS
           Pressure Products. Inc.
           \September3. 2008

           PRO FORAM INCOME STATEMENT
                                               2008             2009            2010           2011                2012



              Sales                       $     119.249     $   2.574.376 $ 16.081.637 $ 24,474,920 $ 39.673.182
              Cost of Soods Sold          1.       85.091   $   1.344.782 $ 7.294.558 $ 11.984.628 $ 21.027.688

           Sroat Profit                         34.15a ""I 1,229,594 ''$ 8,787,079 '$ 12,490,292 '$18,645,494
              fi&A Expense                $      81,052 $        410,563 $       687.793 $       858.891 $          1,168,876
              R&D Expend                  $      33,000 $        119,750 $       853,289 $     1.285,829 $         1,995,094
              SiSiU Expense               $     253,336 $        891,803 $      1.951,501 $    2,744,070 $         4.200.282
              Shipping Expense            i_       2.385    $     51.488   $     321.633   $     489.498 $          793.464
           rairoA                         '$   (335.615)''$     (2+4,009)'$ 4,972,863 '$ 7,112,004 '$ 10,487,778
              Anortization                $             - $            -   $             $             -
                                                                                                               $
              Depreciation                $         1,778 $        5,333 $        20,611 $        22,000       $      35,889
           EBIT                           '$   (337.393)'$      (249.342)'$ 4,952.252 '$ 7.090.004 '$ 10.451.689
              Interest Expense             $      2,892 $           8,117 $        2,086   $               -   $
              Toxes                        $    (51,043) $        (38,619) $   1,782,060   $   2.552.401       $   3,762,680

           Net Income                          f2B9.242> $      f2ie.84n $     3.168.107   $   4 537.602       i   6 689 209
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        COMPANY OVERHEAD
           Is the company's overhead low?
               Currently quite low. Their $4k/inonth bum ratetypically goes to outsourced prototyping,
               design, and IPwork. No salaries are currently being drawn and they have no operational
               overhead.


        SALES REVENUES
           Are there monthly sales revenues?
              Pressure Products has minimal revenues of between $500-$1,500 from its first generation
                product insmall test markets, website, and word-of-mouth sales. They keep a small
                inventory offirst-generation product onhand to show that, with no marketing energy at
                all, sales arebeing generated. Alocal software company wishes to purchase 60+
                products as holiday gifts toemployees and AFFES (military base PX system) contracts
                have just been signed sothat exchange buyers can access the product - hundreds of
                pieces will be ordered inthis respect by year's end. They have a commission-based
                professional military sales rep (ex-Camelbak military product manager) who has
                  generated these pending sales.




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     PRODUCT MARGINS
        Are there excellent product margins?
           Currently the first generationproduct is at 28% becauseof low volume and US-based
            manufacturing, but they are projecting that the new product line and associated soft goods
            will turn a 47% margin as designs have become more streamlined and off-shore
            manufacturing has been established.

     RETURN ON INVESTMENT
        Is there a likely lOX return for investors?
            Pressure Products is projecting a 17X return in approximately 5 years, referencing the
            saleof other companies like Pressure Products to private equity firms. Camelbak was
            soldfor 6.5 times theirEBITDA to a private equity firm. 6.5 times PressureProducts
            projected EBITDA of $10,487 million in2012 means a 24Xreturnto the $750,000 Series
            A investors assuming they own 25% ofthe company at exit and no additional equity
            financing is raised. If a Series B investor comes in with $1.75 million for 30% of the
            company the Series A investors will own 17% and realize a 17x return.


     EXIT STRATEGY
        Is there a likely exit strategy?
            IPO: possible...
            Sale: Pressure Products plans toactively pursue selling the company to an industry giant      /
            or private equityfirm in the next 3-5 years.                                                  \

     SIZE OF INVESTMENT
        Is the size of investment appropriate?
            Theinvestment looks appropriate both in amount required, $750K, andfor theobjectives
            set for the use of funds. A big push in sales andmarketing is needed, overhead increases,
            and finalization of product for manufacturing all warrant this number. $750K gives the
            investor a 25% share of preferred stock.

     USE OF FUNDS
        How will the money be invested?
           The money will be used as follows:
              Engineering:                  $ 50k
              Marketing/Sales:              $500k
              Overhead (12 months):         $150k
              Contingency:                  $ 50k
                Total:                         $750k


     VALUATION
        What is the valuation of the company?
          $2,250,000 pre-mohey/$3,000,000 post-money.

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   FUTURE FINANCING
     Will other rounds of funding be required?
          Pressure Products is projecting and additional round of financing in the next 12-18
          months to deliver expected military orders. They are projecting that approximately $1.75
          million will be needed.


    PERCENT OWNERSHIP
      What would our percentage ofownership be?
          25% Series A preferred stock.

    OTHER INVESTORS
      Whoare the otherinvestors? .                              - - - - ^ , .
          The current business owners have invested approximately $100,000, broken down as
          follows:


          Ron Reichert -       $59,000
          LukeReichert-        $20,000
          TobyHazelbaker - $10,000
           Gabe Reichert -     $ 5,000
           Carly Swensen -     $ 5,000
           Tauni Roberts -     $ 1,000



    IV. Marketing;
    POTENTIAL MARKET
       Is there a large potential market for the product?
           According to the Outdoor Industry Association, approximately 1.6 million hydration
           packs and reservoirs are sold to consumers annually in the US alone. Militaries
           worldwide are adopting hydration packs over the old canteens (In fact, over half of
           Camelbak's $100+ million in sales comes from the US military), and as outdoor
           recreation and commuter cycling increases, our products will be the obvious choic^
           Plugging in international consumer and militaiy markets, the total addressable market
           opportunity for the hydration pack market is estimated to be $230 million. Pressme
           Products believes that many more people would use hydration packs were it not for the
           inherent problems that their product overcomes.

        Is thecompany partofa high growth trend?                              ,.   .. u
            Recreation and military hydration markets are high areas of growth, with both looking for
            improvements in the current problematic designs. Sporting goods were one of the few
            areas of growth this last quarter in our slowing economy. The Outdoor Industry
            Association estimates the hydration pack market is growing at over 15% annually.




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          Can products be sold nationally and potentially globally?
             The activities that warrant hydration pack use are participated in globally - again, $230
             million is the global market number, with $130 million as domestic sales/ $100 foreign
             cuirently. With e-commerce and even foreign military demand, aglobal customer base is
             evident. Over 50 foreign militaries purchase and use hydration pack systems.

      COMPETITION
         Are they first to market?
             Pressure Products was the first company to offer apressurized hands free hydration kit
             introducing it in 2006.

         Are there competitors?
             Asmall company called Polar Pak makes apressurized hydration reservoir based off of
             prior art ideas (not defendable). This product is poorly designed, difficult to use and does
             not enjoy market support orthe potential for wide adoption.

     EXISTING DISTRIBUTION CHANNELS
         Are there existingchannels to customers?
            According to the Outdoor Industry Association, 80% of hydration pack consumer sales
            are generated through chain retail stores, 15% come from specialty retail stores, and 6%
            are made over the internet. Separate channels exist for military sales.
                                                                                                             r
     COMPELLING REASON TO BUY
        Is there a compelling reason for customers to buy?
            Over the last decade, millions of customers have flocked to the hands-free hydration
            systems manufactured by companies such as Camelbak. Unfortunately, hydration pack
            technologies have remained fundamentally unchanged over the years - users must still
            suck water through a very long tube to get itinto their mouths. This can be a difficult
            proposition during times ofphysical exertion and heavy breathing, the exact time when
            people need water the most. Users complain of aspiration and the need to hydrate faster
            when using current hydration systems. Accessing water for alternative purposes such as
            cooling off, sharing with a dog, washing hands, and irrigating wounds is not effective
            with current suction technologies. Dehydration and heat related illnesses are the number
            two medical concern (after trauma) for the US armed forces. Militaries and backcountry
            users worldwide are searching for ways to incorporate in-line biofiltration technologies
            with pressurized hydration systems. Pressure Products is well positioned to solve these
            problems.

     VALUE ADDED PRODUCT
        Is the product value added, nota commodity?
             This is a value added product. The value their products give the customer over a
            traditional, non-pressurized hydration pack include, but are not limited to: greater
            efficiency of hydration leading to abetter hydrated user, vastly improved utility of carried
            water over the traditional packs (ability to spray off, share water, clean gear, etc.).


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              improved performance of inline filter use, insulative properties of the air/gas used
              surrounding the water.


        V. Technology:
        TECHOLOGY COMPANY
          Is this a technology company?
              Indeed. The system used to pressurize our packs is patent pendmg as are many ofthe
              spin-off products our system will generate. Future technological advances to our
              products are currently envisioned and being adequately protected.
          Is therea disruptive technology?                                               ,,             u
              For the last 15 years, hydration pack technology has remained unchanged (still must suck
               to get water). Pressure Pak's simple, superior technology has sturmed even the largest
               players in theirmarket.

        PRODUCT MATURITY
           Is the
               ;lie technology
                    tecnnoiogy sound?
                               souna;
               Second generation functioning prototypes have been tested to beyond realistic tolerances
               for months and are eagerly shown off to interested parties in aprivate setting. Their
I              current product has been selling for 2years. They both use the same or similar
               technologies.

           How mature is the technology and product?
               The second generation design is 60-90 days away from completion, with only minor
               changes needed to afew components. The technology itself is borrowed from medical
               devices that have been widely used for decades, and as stated earlier, has been selling for
               2 years in their first generation product.

           How long would ittake askilled team to duplicate the product?
               Patents would prohibit this, but they have industry professionals telling them 12-18
               months at the quickest.

           Are there technical risks to get to market?
               There are afew very minor risks associated with the second generation rese^oir that are
               being mitigated by the engineers they are partnered with and the material scientists they
               have on staff. These hurdles will be overcome and the new reservoir will be market
                ready in 60 to 90 days.

         INTELLECTUAL PROPERTY
            Does the company own any intellectual property?
                Patents are pending, with log books and diligence in engineering also supporting their
                "first to invent" rights since 2004 in this and other supporting technologies. Thorpe,
                North, and Western are their patent attorneys. Properties that the pending utility patent


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             protects include: pressurized hydration with a flexible chamber of air, in-line filtration
             with a pressurized system, pressurization with compressed gas, and a backboard to
             control shape during pressurization.

      INVENTORY
         Will there be manufacturing and inventory?
            Inventory will be required with the overseas manufacturing that has been secured.
            However, with a lean, JTT format that will be employed and managed by known
            associates with over 40 years combined experience in this area, on-hand inventory will be
            minimized.




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